     Case 3:16-md-02741-VC          Document 19859         Filed 12/03/24     Page 1 of 1




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      PRETRIAL ORDER NO. 300: ORDER
                                                  GRANTING MOTION TO EXCLUDE
   Fleischhauer v. Monsanto Co.,                  EXPERT ZHANG
   Case No. 3:21-cv-05971-VC
                                                  Re: Dkt. No. 18961
   Hayes v. Monsanto Co.,
   Case No. 3:21-cv-05398-VC


       Monsanto filed a motion to exclude the expert testimony of Dr. Luoping Zhang. In

response, the plaintiffs filed notices withdrawing Dr. Zhang as an expert. Therefore, Monsanto’s

unopposed motion is granted.

       IT IS SO ORDERED.

Dated: December 3, 2024
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
